IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

LIBERTARIAN PARTY OF OHIO, et al.,

Plaintiffs, Case No. 2:08-cv-555
v. JUDGE EDMUND A. SARGUS, JR.
JENNIFER BRUNNER, in her Official MAGISTRATE JUDGE NORAH
Capacity as Ohio Secretary of State, MCCANN KING
Defendant.
ORDER

The Court hereby ORDERS that the Consent Decree entered on July 20, 2009 is hereby
VACATED and REPLACED in all respects with the attached Consent Decree.

IT IS SO ORDERED.

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DATED EDMU . SARGUS, JR.
UNIT ATES DISTRICT JUDGE
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

LIBERTARIAN PARTY OF OHIO, et al.,

Plaintiffs,
v. Case No. 2:08-cy-555
Judge Edmund A, Sargus, Jr.
JENNIFER BRUNNER, in her Official Magistrate Judge Norah McCann King
Capacity as Ohio Secretary of State,
Defendant.
CONSENT DECREE

This Consent Decree is made and entered into as of the 26th day of June, 2009 by and
between the Libertarian Party of Ohio, Kevin Knedler, Bob Barr, Wayne A. Root, Mark Noble
and Margaret A. Leech (“Plaintiffs”) and Secretary of State Jennifer Brunner (“Defendant”)
(collectively, “the parties”).

A. WHEREAS, the Plaintiffs have brought suit against the Defendant alleging that
the Ohio legislature has not enacted new ballot access procedures for minor political parties since
the Sixth Circuit struck down Ohio’s procedures in Libertarian Party of Ohio v. Blackwell, 462
F.3d 579 (6" Cir. 2006); and

B, WHEREAS, the Plaintiffs sought and were granted preliminary injunctive relief
enjoining the enforcement of Directive 2007-09 as violating the First and Fourteenth
Amendments and Articles J and II of the United States Constitution and granting Plaintiffs access
to the November 4, 2008 general election ballot; and

C. WHEREAS, the parties have agreed to resolve this litigation in the manner set
forth in this Consent Decree,
NOW, THEREFORE

l. Defendant on May 27, 2009 formally withdrew Directive 2007-09 so that
it no longer has force and will not be enforced in the future;

2. The Plaintiffs agree to dismiss the above-styled Complaint without
prejudice;

3. The parties agree that this Consent Decree will only become effective and
binding if and when incorporated into a Final Judgment in this case;

4, The parties agree that when this Consent Decree is incorporated into a
Final Judgment, Plaintiffs will be entitled to their reasonable attorney’s fees as prevailing parties
in the above-styled action as that term is defined in 42 U.S.C. § 1988(b);

5. The parties agree that when this Consent Decree is incorporated into a
Final Judgment, Plaintiffs will within fourteen days file a motion for an award of costs under
Rule 54 and attomney’s fees under 42 U.S.C. § 1988(b) with the District Court.

Respectfully submitted,

‘s/ Gary Sinawski

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Entered by Order of the Court this 20 day of Ty , 2009,

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The Honorabfe Fdmund A, Sargus, Jr.
Judge, UnitedStates District Court for the Southern district of Ohio

